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                                                                          6                        IN THE UNITED STATES DISTRICT COURT
                                                                          7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                                                               )         Case No. C 07-5944 SC
                                                                          9   In re: CATHODE RAY TUBE (CRT)    )
                                                                              ANTITRUST LITIGATION             )         MDL No. 1917
                                                                         10                                    )
                               For the Northern District of California
United States District Court




                                                                              This Document Relates to:        )         ORDER GRANTING IN PART AND
                                                                         11                                    )         DENYING IN PART DEFENDANTS'
                                                                              Tech Data Corp. v. Hitachi,      )         JOINT MOTION TO DISMISS
                                                                         12   Ltd., No. 13-cv-00157;           )
                                                                                                               )
                                                                         13   Sharp Elecs. Corp. v. Hitachi, )
                                                                              Ltd., No. 13-cv-01173;           )
                                                                         14                                    )
                                                                              Sharp Elecs. Corp. v.            )
                                                                         15   Koninklijke Philips Elecs. N.V., )
                                                                              No. 13-cv-02776.                 )
                                                                         16                                    )
                                                                         17
                                                                         18
                                                                         19   I.      INTRODUCTION
                                                                         20           Now before the Court is the Defendants' joint motion to
                                                                         21   dismiss claims asserted in the above-captioned cases 1 by Tech Data
                                                                         22   1
                                                                                The operative pleadings were originally filed in Case No. 07-5944
                                                                         23   at ECF Nos. 1604-2 ("Sharp Compl."), 1741-2 ("Sharp-Philips
                                                                              Compl."), and 1911 ("Tech Data Compl."). However, pursuant to
                                                                         24   stipulation, ECF No. 2240, the Joint Motion to Dismiss as to Sharp
                                                                              is deemed to apply to Sharp's First Amended Complaint ("FAC"),
                                                                         25   filed under seal at ECF No. 2030.

                                                                         26   The Sharp-Philips Complaint is an outlier in this matter because it
                                                                              is subject to a separate tolling agreement between Sharp and
                                                                         27   Koninklijke-Philips N.V. and its related entities (the "Philips
                                                                              Defendants"). Under that agreement, any claims based on the
                                                                         28   Philips Defendants' actions before April 29, 2009 are barred by
                                                                              applicable statutes of limitations. Per this order's analysis,
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                                                                          1   and Sharp. 2     The matter is fully briefed 3 and appropriate for
                                                                          2   decision without oral argument, per Civil Local Rule 7-1(b).              As
                                                                          3   explained below, the Court GRANTS in part and DENIES in part the
                                                                          4   motion.
                                                                          5
                                                                          6 II.       BACKGROUND
                                                                          7           The parties are familiar with this case's facts.           Accordingly,
                                                                          8   the Court will only summarize some of the facts that are relevant
                                                                          9   to the instant motion, which only concerns whether any of Sharp or
                                                                         10   Tech Data's claims are barred by an applicable statute of
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                                                                         11   limitations, and whether any relevant tolling doctrines apply to
                                                                         12   avoid that bar.
                                                                         13           The underlying antitrust conspiracy in this MDL -- to fix
                                                                         14   prices of cathode ray tubes ("CRTs") and products containing CRTs -
                                                                         15   - is alleged to have lasted between March 1, 1995 and December 2007
                                                                         16   (the "Relevant Period").         The plaintiffs in all of the MDL's cases
                                                                         17   contend that Defendants kept the conspiracy secret, to avoid
                                                                         18   putting the plaintiffs (and anyone else) on notice.             But on
                                                                         19   November 8, 2007, the European Commission ("EC") issued a press
                                                                         20   release stating that its officials had raided several unnamed CRT
                                                                         21   manufacturers.       Shortly thereafter, other countries' law
                                                                         22   enforcement agencies conducted similar raids, and within a few
                                                                         23
                                                                         24   this changes little, and the parties do not discuss this point
                                                                              much.
                                                                         25   2
                                                                                "Sharp" collectively includes Sharp Electronics Corporation
                                                                         26   ("SEC") and Sharp Electronics Manufacturing Company of America,
                                                                              Inc. ("SEMA"). Tech Data Corporation and Tech Data Product
                                                                         27   Management, Inc., are collectively called "Tech Data."
                                                                              3
                                                                         28     Case No. 07-5944 ECF Nos. 1992 ("MTD"), 2194 ("Sharp Opp'n"),
                                                                              2197 ("Tech Data Opp'n"), 2231 ("Reply").


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                                                                          1   weeks, Defendants Panasonic, Samsung SDI, and Philips all
                                                                          2   acknowledged that they were under investigation.
                                                                          3           A major point of contention as to this motion is whether Sharp
                                                                          4   or Tech Data were parts of any of the earlier-filed class actions:
                                                                          5   the direct purchaser plaintiff ("DPPs") class, the indirect
                                                                          6   purchaser plaintiff ("IPP") class, or any of the state classes that
                                                                          7   were later subsumed by the DPP or IPP actions.            Sharp filed an
                                                                          8   individual complaint on March 15, 2013, opting out of the putative
                                                                          9   DPP class.      It filed another separate complaint against the Philips
                                                                         10   Defendants on June 17, 2013.         Both of Sharp's complaints assert
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                                                                         11   claims under Section 1 of the Sherman Act, 15 U.S.C. et seq.; the
                                                                         12   California Cartwright Act, Cal. Bus. & Prof. Code § 16700 et seq.;
                                                                         13   the California UCL, Cal. Bus. & Prof. Code § 17200 et seq.; New
                                                                         14   York's Donnelly Act, N.Y. Gen. Bus. L. § 340 et seq.; the New York
                                                                         15   UCL, N.Y. Gen. Bus. L. § 349 et seq.; the New Jersey Antitrust Act,
                                                                         16   N.J. Stat. § 56:9-1 et seq.; and the Tennessee Antitrust Act, Tenn.
                                                                         17   Code Ann. § 47-25-101 et seq.
                                                                         18           Tech Data filed its first complaint on December 11, 2012.
                                                                         19   Tech Data asserts claims under Section 1 of the Sherman Act, the
                                                                         20   Florida Deceptive and Unfair Practices Act ("FDUTPA"), Fla. Stat. §
                                                                         21   501.201 et seq., the Cartwright Act, and the California UCL.
                                                                         22           All of Tech Data and Sharp's claims are subject to four-year
                                                                         23   statutes of limitations, except the New York UCL and the Tennessee
                                                                         24   Antitrust Act, which have three-year statutes of limitations.
                                                                         25   Defendants now jointly move to dismiss Sharp and Tech Data's
                                                                         26   claims, arguing that under no theory -- fraudulent concealment,
                                                                         27   cross-jurisdictional tolling, American Pipe tolling, 4 equitable
                                                                         28   4
                                                                                  So called because it is derived from the case American Pipe &


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                                                                          1   tolling, or government tolling -- can Sharp or Tech Data avoid
                                                                          2   their claims' being barred, since they bring their claims so many
                                                                          3   years after the alleged conspiracy had been revealed.           Sharp's
                                                                          4   claims against the Philips Defendants before April 29, 2009 are
                                                                          5   time-barred under those parties' tolling agreement.          Defendants'
                                                                          6   arguments address only Sharp and Tech Data's state law claims, not
                                                                          7   their federal claims.
                                                                          8
                                                                          9 III.   LEGAL STANDARD
                                                                         10        A motion to dismiss under Federal Rule of Civil Procedure
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                                                                         11   12(b)(6) "tests the legal sufficiency of a claim."          Navarro v.
                                                                         12   Block, 250 F.3d 729, 732 (9th Cir. 2001).         "Dismissal can be based
                                                                         13   on the lack of a cognizable legal theory or the absence of
                                                                         14   sufficient facts alleged under a cognizable legal theory."
                                                                         15   Balistreri v. Pacifica Police Dep't, 901 F.2d 696, 699 (9th Cir.
                                                                         16   1988).   "When there are well-pleaded factual allegations, a court
                                                                         17   should assume their veracity and then determine whether they
                                                                         18   plausibly give rise to an entitlement to relief."          Ashcroft v.
                                                                         19   Iqbal, 556 U.S. 662, 664 (2009).       However, "the tenet that a court
                                                                         20   must accept as true all of the allegations contained in a complaint
                                                                         21   is inapplicable to legal conclusions.        Threadbare recitals of the
                                                                         22   elements of a cause of action, supported by mere conclusory
                                                                         23   statements, do not suffice."      Id. at 678 (citing Bell Atl. Corp. v.
                                                                         24   Twombly, 550 U.S. 544, 555 (2007)).       The allegations made in a
                                                                         25   complaint must be both "sufficiently detailed to give fair notice
                                                                         26   to the opposing party of the nature of the claim so that the party
                                                                         27   may effectively defend against it" and "sufficiently plausible"
                                                                         28
                                                                              Construction Co. v. Utah, 414 U.S. 538 (1974).


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                                                                          1   such that "it is not unfair to require the opposing party to be
                                                                          2   subjected to the expense of discovery."        Starr v. Baca, 652 F.3d
                                                                          3   1202, 1216 (9th Cir. 2011).
                                                                          4        Claims sounding in fraud are subject to the heightened
                                                                          5   pleading requirements of Federal Rule of Civil Procedure 9(b),
                                                                          6   which requires that a plaintiff alleging fraud "must state with
                                                                          7   particularity the circumstances constituting fraud."          See Kearns v.
                                                                          8   Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009).          "To satisfy
                                                                          9   Rule 9(b), a pleading must identify the who, what, when, where, and
                                                                         10   how of the misconduct charged, as well as what is false or
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                                                                         11   misleading about [the purportedly fraudulent] statement, and why it
                                                                         12   is false."    United States ex rel Cafasso v. Gen. Dynamics C4 Sys.,
                                                                         13   Inc., 637 F.3d 1047, 1055 (9th Cir. 2011) (internal quotation marks
                                                                         14   and citations omitted).
                                                                         15
                                                                         16 IV.    DISCUSSION
                                                                         17        A.      Fraudulent Concealment
                                                                         18        The doctrine of fraudulent concealment focuses on actions that
                                                                         19   a defendant took to prevent a plaintiff from learning of grounds
                                                                         20   for filing a suit.     See Lukovsky v. City & Cnty. of S.F., 535 F.3d
                                                                         21   1044, 1051 (9th Cir. 2008).      To invoke the doctrine, plaintiffs
                                                                         22   must allege facts demonstrating that they could not have discovered
                                                                         23   the alleged violations by exercising reasonable diligence.
                                                                         24   Rosenfeld v. JPMorgan Chase Bank N.A., 732 F. Supp. 2d 952, 964
                                                                         25   (N.D. Cal. 2010); see also Hubbard v. Fid. Fed. Bank, 91 F.3d 75,
                                                                         26   79 (9th Cir. 1996).     A fraudulent concealment claim must be alleged
                                                                         27   with particularity under Rule 9(b).       Noll v. eBay, Inc., 282 F.R.D.
                                                                         28   462, 468 (N.D. Cal. 2012).



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                                                                          1        Defendants argue that neither Sharp nor Tech Data can
                                                                          2   plausibly allege that they had no actual or constructive knowledge
                                                                          3   of their claims as of December 11, 2008 (for Tech Data) or March
                                                                          4   15, 2009 (for Sharp).     Defendants contend that because of the fact
                                                                          5   that litigation in this high-profile MDL had been proceeding apace,
                                                                          6   and since both Sharp and Tech Data's pleadings refer to the very
                                                                          7   public investigations of some of these Defendants, there is no
                                                                          8   plausible excuse for Tech Data or Sharp's statement that they had
                                                                          9   no knowledge of their claims' bases, absent any further facts.         See
                                                                         10   MTD at 9-12.   Further, Defendants claim that Tech Data and Sharp
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                                                                         11   fail to meet their burden to plead fraudulent concealment with
                                                                         12   particularity, since their complaints do not allege any affirmative
                                                                         13   acts following the end of the alleged conspiracy period or the
                                                                         14   announcement of the government investigations.         Id. at 12-13.
                                                                         15        The Court finds that both Tech Data and Sharp have
                                                                         16   sufficiently pled fraudulent concealment until November 14, 2007,
                                                                         17   the latest date this Court has held to provide actual or inquiry
                                                                         18   notice to the DAPs.     See In re Cathode Ray Tube (CRT) Antitrust
                                                                         19   Litig., No. C-07-5944, 2013 WL 4505701, at *3 (N.D. Cal. Aug. 21,
                                                                         20   2013).   This renders their claims time-barred unless they are able
                                                                         21   to invoke a tolling doctrine or some equivalent.
                                                                         22            i.      American Pipe Tolling
                                                                         23        American Pipe held that commencement of a class action
                                                                         24   suspends the statute of limitation as to all putative members of
                                                                         25   the class up to and until class certification is denied or the
                                                                         26   plaintiff opts out of the class.       414 U.S. at 554; Williams v.
                                                                         27   Boeing Co., 517 F.3d 1120, 1136 (9th Cir. 2008); Emp'rs-Teamsters
                                                                         28   Local Nos. 175 & 505 Pension Trust Fund v. Anchor Capital Advisors,



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                                                                          1   498 F.3d 920, 925 (9th Cir. 2007).        "Tolling is fair in such a case
                                                                          2   because when the complaint is filed defendants have notice of the
                                                                          3   'substantive claims being brought against them.'"          Williams, 517
                                                                          4   F.3d at 1136 (quoting Crown, Cork & Seal Co. v. Parker, 462 U.S.
                                                                          5   345, 352-53 (1983)).     "However, the tolling rule does not 'leave[]
                                                                          6   a plaintiff free to raise different or peripheral claims following
                                                                          7   denial of class status.'"      Id. at 1136 (quoting Crown, 462 U.S. at
                                                                          8   354 (Powell, J. concurring)) (alterations in original).
                                                                          9         The parties first dispute whether Crown limits the rule of
                                                                         10   American Pipe in a way that would toll only later-filed claims that
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                                                                         11   are identical to those asserted in the earlier-filed class actions,
                                                                         12   as opposed to tolling new claims asserted by putative class
                                                                         13   members.   Tech Data Opp'n at 5; Sharp Opp'n at 13.         Sharp and Tech
                                                                         14   Data contend that it is the substantive similarity of the claim
                                                                         15   that matters for American Pipe tolling, not their actual identity.
                                                                         16   Id.   Defendants claim that the causes of action asserted in the
                                                                         17   arguably tolled complaints have to be identical to those from the
                                                                         18   class action complaints in order for American Pipe to apply.          Reply
                                                                         19   at 4-5.
                                                                         20         The Court finds for Defendants on this point.         Justice
                                                                         21   Powell's concurrence from Crown indicates that while courts should
                                                                         22   permit tolling when a lawsuit raises claims that "concern the same
                                                                         23   evidence, memories, and witnesses as the subject matter of the
                                                                         24   original class suit," it is still important to "make certain . . .
                                                                         25   that American Pipe is not abused by the assertion of claims that
                                                                         26   differ from those raised in the original class suit."           462 U.S. at
                                                                         27   354; see also In re TFT-LCD (Flat Panel) Antitrust Litig., No. M
                                                                         28   07-1827 SI, C 12-4114 SI, 2013 WL 254873, at *2 & n.3 (N.D. Cal.



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                                                                          1   Jan. 13, 2013) (declining to apply American Pipe to state law
                                                                          2   claims not asserted in the original class complaint); accord In re
                                                                          3   Copper Antitrust Litig., 436 F.3d 782, 793-97 (7th Cir. 2006)
                                                                          4   (same).
                                                                          5           This holding comports with other post-American Pipe rulings,
                                                                          6   such as Johnson v. Railway Express Agency, Inc., 421 U.S. 454, 467
                                                                          7   (1975), in which the Supreme Court held that American Pipe tolling
                                                                          8   did not apply to a later-filed claim that was not identical to the
                                                                          9   earlier-filed class claims.         The Court stated: "Finally, and
                                                                         10   perhaps most importantly, the tolling effect given to the timely
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                                                                         11   prior filings in American Pipe and [Burnett v. N.Y. Cent. R.R. Co.,
                                                                         12   380 U.S. 424 (1965)] depended heavily on the fact that those
                                                                         13   filings involved exactly the same cause of action subsequently
                                                                         14   asserted.      This factor was more than a mere abstract or theoretical
                                                                         15   consideration because the prior filing in each case necessarily
                                                                         16   operated to avoid the evil against which the statute of limitations
                                                                         17   was designed to protect."         Id.; see also Int'l Union of Elec.,
                                                                         18   Radio and Mach. Workers, AFL-CIO, Local 790 v. Robbins & Myers,
                                                                         19   Inc., 429 U.S. 229, 238 (1976) (declining to toll a later-filed
                                                                         20   claim that was not identical to the earlier-filed claim, citing
                                                                         21   Johnson). 5
                                                                         22                       a.     Direct Purchaser Cases
                                                                         23           None of the direct purchaser complaints asserts a state law
                                                                         24   cause of action.         Therefore, based on the above reasoning, the
                                                                         25   Court does not find that American Pipe tolling extends to any of
                                                                         26   5
                                                                                In an unpublished 2005 opinion, the Ninth Circuit found
                                                                         27   similarly. Card v. Duker, 122 Fed. App'x 347, 349 (9th Cir. 2005)
                                                                              ("The Supreme Court has thus not extended tolling due to class
                                                                         28   litigation beyond American Pipe's narrow allowance for identical
                                                                              causes of action brought where the class was decertified.").


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                                                                          1   Tech Data or Sharp's state law causes of action based on direct
                                                                          2   purchases.      Based on this conclusion, it is not necessary to reach
                                                                          3   the issue of whether those states' laws would apply American Pipe
                                                                          4   in the cross-jurisdictional context.           Further, to the extent Sharp
                                                                          5   and Tech Data rely on indirect purchases for standing, they would
                                                                          6   not be able to toll claims based on direct purchaser complaints,
                                                                          7   which were exclusively brought on behalf of direct purchasers.
                                                                          8           In any event, none of the states in which Sharp or Tech Data
                                                                          9   purports to bring claims would adopt cross-jurisdictional tolling. 6
                                                                         10   The Tennessee Supreme Court has held that "[a]doption of [cross-
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                                                                         11   jurisdictional tolling] would run the risk that Tennessee courts
                                                                         12   would become a clearinghouse for cases that are barred in the
                                                                         13   jurisdictions in which they otherwise would have been brought."
                                                                         14   Maestas v. Sofamor Danek Grp., Inc., 33 S.W.3d 805, 808 (Tenn.
                                                                         15   2000).     New Jersey limits tolling to former class members, and only
                                                                         16   to the extent their claims were raised in the original putative
                                                                         17   class actions, so Sharp cannot rely on that case since the DPP
                                                                         18   class did not assert a New Jersey claim.           Del Sontro v. Cendant
                                                                         19   Corp., 223 F. Supp. 2d 563, 581 (D.N.J. 2002).            New York law is
                                                                         20   unsettled, but the Court follows the Southern District of New York
                                                                         21   in declining to import American Pipe into New York state law.
                                                                         22   Soward v. Deutsche Bank AG, 814 F. Supp. 2d 272, 281-82 (S.D.N.Y.
                                                                         23   2011).     California explicitly forecloses American Pipe's
                                                                         24   application to cross-jurisdictional actions.            Hatfield v. Halifax
                                                                         25
                                                                              6
                                                                         26     In encouraging the Court to apply cross-jurisdictional tolling to
                                                                              the state claims, Sharp asks the Court to adopt the case-by-case
                                                                         27   test from In re Linerboard Antitrust Litigation, 223 F.R.D. 335
                                                                              (E.D. Pa. 2004). The Court declines to do so. That case is not
                                                                         28   binding on the Court.



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                                                                          1   PLC, 564 F.3d 1177, 1187 (9th Cir. 2009); see also Clemens v.
                                                                          2   DaimlerChrysler Corp., 534 F.3d 1017, 1025 ("California's interest
                                                                          3   in managing its own judicial system counsel[s] us not to import the
                                                                          4   doctrine of cross-jurisdictional tolling into California law."). 7
                                                                          5   Finally, Tech Data's Florida claim is a special case, which the
                                                                          6   Court addresses (and dismisses) below, but regardless of that,
                                                                          7   Florida Statute section 95.051(1) sets out the exclusive list of
                                                                          8   Florida tolling doctrines, which does not include cross-
                                                                          9   jurisdictional tolling.
                                                                         10                       b.     The Special Case of Equitable Tolling in
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                                                                         11                              California
                                                                         12           Equitable tolling under California law is a judicially created
                                                                         13   doctrine that suspends or extends statutes of limitations in order
                                                                         14   to ensure that limitations periods are not used to bar claims
                                                                         15   unfairly.      Hatfield, 564 F.3d at 1185.        Courts apply three factors
                                                                         16   in deciding whether to apply equitable tolling in California: "(1)
                                                                         17   timely notice to the defendant in the filing of the first claim;
                                                                         18   (2) lack of prejudice to the defendant in gathering evidence to
                                                                         19   defend against the second claim; and (3) good faith and reasonable
                                                                         20   conduct by the plaintiff in filing the second claim."              Id.
                                                                         21   Equitable tolling overlaps with American Pipe tolling to some
                                                                         22   extent, though the two doctrines are not congruent, so this
                                                                         23   analysis falls outside the discussion of American Pipe tolling and
                                                                         24   its limitations.         Id. at 1188.
                                                                         25           The Court is not completely convinced by Tech Data and Sharp's
                                                                         26   contentions that the Court should apply California's equitable
                                                                         27
                                                                              7
                                                                         28     The Court addresses California's equitable tolling doctrine
                                                                              separately.


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                                                                          1   tolling and allow them collectively to extend the tolling periods
                                                                          2   for state law claims not asserted in the DPP action.          Only Sharp
                                                                          3   Plaintiff SEMA is a California resident, since it is organized
                                                                          4   under California law and has its principal place of business in San
                                                                          5   Diego.   No other plaintiffs are entitled to equitable tolling,
                                                                          6   which is limited to California residents.        Id. at 1189 ("Although
                                                                          7   we conclude that California would allow its resident class members
                                                                          8   to reap tolling benefits under its equitable tolling doctrine, the
                                                                          9   same cannot be said for the non-resident class members.").          To the
                                                                         10   extent that Sharp's complaint brings claims on behalf of SEMA's
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                                                                         11   direct purchases from Defendants, however, the Court finds that
                                                                         12   equitable tolling should apply, because (1) Defendants have had
                                                                         13   timely notice of the DPP action; (2) Defendants are not prejudiced
                                                                         14   in gathering evidence to defend against SEMA's claim, since the DPP
                                                                         15   cases (though now nearing settlement) have been underway for years;
                                                                         16   and (3) it does not appear that Sharp has acted in bad faith in
                                                                         17   filing this opt-out case.     See Hatfield, 564 F.3d at 1185.
                                                                         18        The Court is not persuaded by Defendants' arguments against
                                                                         19   the application of the doctrine to SEMA.        First, Defendants' cases
                                                                         20   denying equitable tolling on the basis of a state-law claim having
                                                                         21   been filed first refer to the same named plaintiffs bringing cases
                                                                         22   first in state court and later pursuing a federal case, relying on
                                                                         23   the earlier-filed state action to toll their claims -- the present
                                                                         24   case's fact pattern is different.         See Eichman v. Fotomat, 880 F.2d
                                                                         25   149, 155-56 (9th Cir. 1989); Mir. v. Little Co. of Mary Hosp., 844
                                                                         26   F.2d 646, 649 (9th Cir. 1988).      Second, the Court is also not
                                                                         27   convinced by Defendants' argument that equitable estoppel does not
                                                                         28   apply when plaintiffs file a subsequent action in the same court as



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                                                                          1   the prior action.        Reply at 8 (citing, among other cases, Centaur
                                                                          2   Classic Convertible Arbitrage Fund Ltd. v. Countrywide Fin. Grp.,
                                                                          3   878 F. Supp. 2d 1009, 1018 (C.D. Cal. 2011)).             Defendants' cases
                                                                          4   again refer to named plaintiffs, or putative class members after
                                                                          5   the denial of class certification, and the Court does not find that
                                                                          6   the equities in those cases are the same as those at work in this
                                                                          7   one.
                                                                          8           Therefore, Sharp's California claims on behalf of SEMA's
                                                                          9   direct purchases from Defendants remain in the case pursuant to
                                                                         10   equitable tolling.        Sharp's California claims on behalf of any
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                                                                         11   other Sharp entities are DISMISSED WITH PREJUDICE.
                                                                         12                       c.    Indirect Purchaser Cases
                                                                         13           Sharp and Tech Data also assert that to the extent they allege
                                                                         14   causes of action based on indirect purchases, they are entitled to
                                                                         15   tolling based on earlier-filed indirect purchaser plaintiffs'
                                                                         16   ("IPPs") class actions.         As noted above, the Court holds that
                                                                         17   American Pipe tolling is inapplicable to state law claims not
                                                                         18   asserted in previous actions, so the Court will evaluate tolling
                                                                         19   here only as to claims actually asserted in the IPP cases.              Both
                                                                         20   Sharp and Tech Data refer to two earlier-filed IPP cases that
                                                                         21   asserted California state law claims, 8 which they contend
                                                                         22   separately entitle them to toll their California state law claims
                                                                         23   from those cases' filings dates until March 16, 2009, when the IPP
                                                                         24   consolidated class complaint was finalized to exclude resellers
                                                                         25   like Sharp and Tech Data.         The first case, Juetten, was filed
                                                                         26
                                                                              8
                                                                         27     Juetten v. Chunghwa Picture Tubes, Ltd., No. 07-cv-6225 (N.D.
                                                                              Cal.) and Gonzalez v. Chunghwa Picture Tubes, Ltd., No. 08-cv-
                                                                         28   01108) (N.D. Cal.)



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                                                                          1   December 10, 2007; the second, Gonzalez, was filed on February 25,
                                                                          2   2008.
                                                                          3           The Court finds that neither Sharp nor Tech Data can assert
                                                                          4   tolling based on the IPP cases.          First, the plaintiff in Juetten
                                                                          5   brought his case only on behalf of purchasers who bought CRTs "for
                                                                          6   their own use and not for resale."            ECF 1 ("Juetten Compl.") ¶ 84,
                                                                          7   No. 07-cv-6225.       This excludes Tech Data and Sharp's claims based
                                                                          8   on indirect purchases, since they acknowledge that they are
                                                                          9   resellers. 9
                                                                         10           Second, Gonzalez does not rescue either Tech Data or Sharp's
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                                                                         11   claims because it does not extend the tolling period long enough.
                                                                         12   It was filed on February 25, 2008, and is relevant for tolling
                                                                         13   purposes only until March 16, 2009, when the IPP Consolidated
                                                                         14   Amended Complaint ("IPP CCAC"), was filed.            ECF No. 437.      Tech Data
                                                                         15   must account for tolling between November 14, 2007, and December
                                                                         16   11, 2012, when it filed its complaint.            Sharp must account for
                                                                         17   tolling between November 14, 2007, and March 19, 2013.              "[U]nder
                                                                         18   American Pipe the limitations period applicable to [a plaintiff's
                                                                         19   claims] could have been tolled only until such time as he was no
                                                                         20   longer a class member, that is . . . when [the amended complaint]
                                                                         21   in the consolidated class action was filed."             Chardon v. Soto, 462
                                                                         22   U.S. 650, 654 (1983).         385 days passed between Gonzalez's filing
                                                                         23   date and the IPP CCAC's filing date.           This leaves both Tech Data
                                                                         24   and Sharp still in excess of four years between dates on which they
                                                                         25   would have had notice of their claims, and their actual filing
                                                                         26   9
                                                                                Defendants contend that the Court should find that the same
                                                                         27   exclusion applies to Gonzalez even though its complaint does not
                                                                              expressly limit the proposed class in the way that Juetten's did.
                                                                         28   The Court declines to speculate on what the named plaintiff from
                                                                              Gonzalez planned to do.


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                                                                          1   dates.   In Sharp's case, five years, four months, and five days --
                                                                          2   1,952 days in total -- passed between the notice date and the day
                                                                          3   Tech Data filed its complaint.      For Tech Data, five years and
                                                                          4   twenty-seven days -- 1,854 days total -- passed between those two
                                                                          5   dates.   Gonzalez could have provided, at most, one year and twenty
                                                                          6   days of tolling, leaving both Sharp and Tech Data outside the
                                                                          7   limitations period.
                                                                          8        Therefore, even if Gonzalez could toll Sharp or Tech Data's
                                                                          9   California claims, with the exception of SEMA's California claims
                                                                         10   related to direct purchases, those claims would remain time-barred.
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                                                                         11            ii.    Governmental Action
                                                                         12                   a.    New York
                                                                         13        Sharp argues that the federal government's actions on the CRT
                                                                         14   conspiracy toll the statute of limitations for its Donnelly Act
                                                                         15   claims, beginning with the DOJ's criminal actions against CRT
                                                                         16   conspirators in February 2009.      Sharp Opp'n at 11-12.      They base
                                                                         17   this argument not on federal antitrust tolling provisions, but on
                                                                         18   the Donnelly Act's own tolling provision, which tolls Donnelly Act
                                                                         19   limitations periods pending federal antitrust proceedings:
                                                                         20        Whenever any civil or criminal proceeding is instituted
                                                                                   by the federal government to prevent, restrain, or
                                                                         21        punish violations of the federal antitrust laws, the
                                                                                   running of the period of limitations in respect of every
                                                                         22        right of action arising under sections three hundred
                                                                                   forty, three hundred forty-two and three hundred forty-
                                                                         23        two-a of this article, based in whole or in part on any
                                                                                   matter complained of in the federal proceeding, shall be
                                                                         24        suspended during the pendency of said proceeding and for
                                                                                   one year thereafter . . . .
                                                                         25
                                                                         26   N.Y. Gen. Bus. Law § 342-c.      Sharp further notes that, elsewhere in
                                                                         27   this litigation, Defendants have conceded that Donnelly Act claims
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                                                                          1   are tolled due to pending federal investigations.          Opp'n at 12
                                                                          2   (citing ECF No. 1422 ("Defs. Joint Reply ISO MTD DAP Claims")).
                                                                          3         Defendants contend that their earlier motion was directed
                                                                          4   toward other DAPs, whose complaints were filed in November 2011.
                                                                          5   Reply at 15.    They also argue that the New York tolling provision
                                                                          6   does not save Sharp's claim.      Id. at 14-15.    According to
                                                                          7   Defendants, tolling under that statute commences only as of the
                                                                          8   date an indictment was filed, and lasts through the pendency of
                                                                          9   prosecution.    Id. at 15 (citing Hinds Cnty., Miss. v. Wachovia Bank
                                                                         10   N.A., 885 F. Supp. 2d 617, 628 (S.D.N.Y. 2012) (applying tolling
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                                                                         11   under the federal provision, not Section 342-c); Dungan v. Morgan
                                                                         12   Drive-Away, Inc., 570 F.2d 867, 871 (9th Cir. 1978) (same)).
                                                                         13   Defendants claim that because Sharp has alleged nothing as to the
                                                                         14   duration of any criminal proceedings, except fifty-five days
                                                                         15   between March 18, 2011 and May 12, 2011 when two defendants entered
                                                                         16   plea agreements, there is no way for Sharp to account for the
                                                                         17   period between November 2007 and March 2013.         Id.   Defendants state
                                                                         18   that even if Sharp's Donnelly Act claim were tolled for a year and
                                                                         19   fifty-five days, Sharp's March 2013 complaint is still untimely.
                                                                         20   Id.
                                                                         21         The Court is not convinced by Defendants' argument.           The Court
                                                                         22   finds that § 16(i) tolling applies based on the open indictments in
                                                                         23   this case.     First, one criminal matter, pending between March 18,
                                                                         24   2011 until its closure in August 30, 2012, tolls claims under §
                                                                         25   16(i) for that time period plus a year.        Further, based on J.M.
                                                                         26   Dungan v. Morgan Drive-Away, Inc., 570 F.2d 867 (9th Cir. 1978),
                                                                         27   tolling under § 16(i) begins at least at the indictment stage,
                                                                         28   though the Court notes that Dungan had the benefit of at least one



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                                                                          1   completed criminal case.     However, the Ninth Circuit's holding was
                                                                          2   in fact based on the court's reasoning that the return of a grand
                                                                          3   jury indictment fits the statutory language of § 16(i) more
                                                                          4   comfortably than empanelling alone would, since the purpose of an
                                                                          5   indictment is the prevention, restraint, or punishment of antitrust
                                                                          6   violations.   In this case, the open indictments Sharp references
                                                                          7   remain pending, and the Court finds Dungan instructive here:
                                                                          8   tolling under § 16(i) may begin at least with the return of an
                                                                          9   indictment, and absent facts or law indicating that the Court
                                                                         10   cannot apply tolling because not much has happened in those cases,
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                                                                         11   the Court finds that under current precedent tolling will apply
                                                                         12   from February 10, 2009 to the present as to Sharp's Donnelly Act
                                                                         13   claims.
                                                                         14                   b.    Florida
                                                                         15        Tech Data argues that its FDUTPA claim is tolled because in
                                                                         16   2011, the State of Florida filed a complaint, ECF No. 2349-1 ("Fl.
                                                                         17   Compl."), alleging that Defendants' alleged conspiracy violated the
                                                                         18   FDUTPA.   Tech Data relies on Section 501.207(1)(c) of the Florida
                                                                         19   Statutes, which gives the State the authority to bring actions on
                                                                         20   behalf of consumers or governmental entities for damages caused by
                                                                         21   FDUTPA violations.    Tech Data Opp'n at 8-9.      The Florida Complaint
                                                                         22   was not filed under Rule 23 or a comparable state class action
                                                                         23   statute, see Fl. Compl., but Tech Data, a Florida-based business,
                                                                         24   would have fallen under the group of "consumers" on behalf of whom
                                                                         25   Florida could sue.    Id.   It contends that Florida would recognize
                                                                         26   American Pipe tolling, so the Court should toll the statute of
                                                                         27   limitations based on the State's complaint.        Id. at 9.
                                                                         28



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                                                                          1        Defendants respond that a different Florida statute, Section
                                                                          2   95.051(1), provides an exclusive list of conditions that can toll
                                                                          3   the Florida statute of limitations.       Reply at 11.    They also argue
                                                                          4   that Tech Data's cited cases do not support their contention that
                                                                          5   Florida would recognize American Pipe tolling.         Id.   And in their
                                                                          6   supplemental brief, they add that since the Florida complaint is
                                                                          7   not a class action, it is not subject to American Pipe tolling in
                                                                          8   any event.   See ECF No. 2360 ("Supp. Reply") at 1-2.
                                                                          9        Tech Data's argument is essentially that it would have been a
                                                                         10   putative class member of the State of Florida's class action, and
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                                                                         11   Florida would apply American Pipe tolling, so the Court should toll
                                                                         12   the claim.   Defendants are right that Section 95.051(1) provides an
                                                                         13   exclusive list of Floridian tolling doctrines, and class-action
                                                                         14   American Pipe tolling is not on it.       Fla. Dep't of Health & Rehab.
                                                                         15   Servs. v. S.A.P., 835 So. 2d 1091, 1095-96 & n.7 (Fla. 2002)
                                                                         16   (affirming that Section 95.051 is exclusive, but distinguishing
                                                                         17   tolling doctrines from equitable estoppel).        Defendants also argue
                                                                         18   that a parens patriae case brought on behalf of state consumers and
                                                                         19   businesses do not apply to toll actions under American Pipe,
                                                                         20   because they are not brought pursuant to Rule 23 or a similar state
                                                                         21   statute or rule of judicial procedure.        Supp. Reply at 2 (citing
                                                                         22   Miss. ex rel Hood v. AU Optronics Corp., 134 S. Ct. 736, 740-41
                                                                         23   (2014)).
                                                                         24        The Court finds this reasoning compelling in light of
                                                                         25   Mississippi v. AU Optronics.      That case concerned, in part, whether
                                                                         26   a case brought by a state as sole plaintiff, on behalf of state
                                                                         27   consumers -- but not filed as a class action under either Rule 23
                                                                         28   or an equivalent state law or rule -- could qualify as a "mass



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                                                                          1   action" under the Class Action Fairness Act ("CAFA"), 28 U.S.C. §
                                                                          2   1332(d).   134 S. Ct. 736, 740-41 (2014).       Under CAFA, class actions
                                                                          3   are civil actions filed under Rule 23 or a similar state statute or
                                                                          4   procedural rule, and mass actions are civil actions in which
                                                                          5   "monetary relief claims of 100 or more persons are proposed to be
                                                                          6   tried jointly on the ground the plaintiffs' claims involve common
                                                                          7   questions of law or fact."     Id. at 740.     The Supreme Court noted
                                                                          8   that both the trial court and appellate court had held that the
                                                                          9   suit, in which the State of Mississippi was sole plaintiff, was not
                                                                         10   a class action.   Id. at 741.     After holding that the word "person"
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                                                                         11   in CAFA referred to "plaintiffs," and "plaintiffs" were the actual
                                                                         12   named parties in the suit, the Supreme Court rejected the argument
                                                                         13   that the case's similarity to a class action -- being brought by
                                                                         14   one named party on behalf of other parties in interest, in this
                                                                         15   case the citizens of Mississippi -- merited its being analyzed as
                                                                         16   one under CAFA.   Id. at 744-45.
                                                                         17        The Court finds this reasoning applicable to the present case:
                                                                         18   there must be a distinction between a class action and a case
                                                                         19   brought by a state on behalf of its citizens.         Even if cross-
                                                                         20   jurisdictional tolling were to apply in Florida, the State of
                                                                         21   Florida's complaint was not a class action, regardless of the
                                                                         22   state's authority to bring actions on behalf of consumers.          See
                                                                         23   Fla. Stat. § 501.207(1)(c).      As the Supreme Court has held, when
                                                                         24   consumers are parties in interest to a case in which the State is
                                                                         25   the sole plaintiff and has not brought the action as a class action
                                                                         26   (or when the action is not a mass action), the parens patriae
                                                                         27   case's similarity to those types of actions does not warrant courts
                                                                         28   analyzing all such cases as if they were the same.          See Miss. v. AU



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                                                                          1   Optronics, 134 S. Ct. at 741.      American Pipe does not apply here,
                                                                          2   and the Court makes no holding as to whether Florida would adopt it
                                                                          3   even if it were applicable.      The Court also declines to evaluate
                                                                          4   the parties' disputes over whether American Pipe tolling would save
                                                                          5   Plaintiffs' claims if it did apply.
                                                                          6         In any event, Tech Data's claim would be untimely even if the
                                                                          7   Florida complaint tolled its cause of action.         The parties made the
                                                                          8   relevant dates clear in their supplemental briefs, and the Court
                                                                          9   finds that the complaint could toll the relevant four-year
                                                                         10   limitations period if, assuming the longest possible tolling date,
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                                                                         11   the period was tolled between the Florida complaint's filing on
                                                                         12   December 9, 2011, and December 11, 2012.        Considering the period
                                                                         13   between November 14, 2007, and December 11, 2012 -- five years and
                                                                         14   twenty-seven days -- applying a tolling period of 367 days leaves
                                                                         15   Tech Data several weeks outside the limitations period.             Finally,
                                                                         16   the fact that Florida law explicitly does not include cross-
                                                                         17   jurisdictional class-action tolling also counsels rejecting Tech
                                                                         18   Data's argument on this point.
                                                                         19         As this is not a dismissal that could be cured with amendment,
                                                                         20   it is WITH PREJUDICE.
                                                                         21   ///
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                                                                          1   V.   CONCLUSION
                                                                          2        As explained above, Sharp's state law claims are DISMISSED
                                                                          3   WITH PREJUDICE, with the exception of Sharp Plaintiff SEMA's
                                                                          4   California claims and Sharp's Donnelly Act claim, which remain in
                                                                          5   the case.   Tech Data's California and Florida claims are DISMISSED
                                                                          6   WITH PREJUDICE.   All parties' federal claims are undisturbed.      All
                                                                          7   holdings apply to the Philips Defendants.
                                                                          8
                                                                          9        IT IS SO ORDERED.
                                                                         10
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                                                                         11        Dated: March 13, 2014
                                                                                                                         UNITED STATES DISTRICT JUDGE
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